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December 26, 2020


VIA ELECTRONIC MAIL

Yonatan Even
Cravath, Swaine & Moore LLP
Worldwide Plaza
825 Eighth Avenue
New York, NY 10019-7475

Re:      Epic Games, Inc. v. Apple Inc., No. 4:20-cv-05640-YGR (N.D. Cal.)

Dear Yonatan:

        I write in response to your December 23 letter regarding the parties’ December 22
meet and confer on, inter alia, Epic’s December 9, 2020 and December 15, 2020 letters
regarding its Requests for Production. Apple is encouraged that the parties generally appear
to be aligned. We address Epic’s RFPs first and then the broader issues after that.

Epic’s RFPs

•     Epic RFP Nos. 3 and 4 regarding revenue, costs, expenses and profits for certain
      Apple products. With respect to RFP 3, Apple has already agreed to produce
      responsive, non-privileged documents, to the extent they exist, that are locatable through
      a search of reasonably accessible non-custodial sources, and can be produced without
      undue burden, relating to the products at issue—iPhone, iPad, and iPod Touch. Apple
      has already produced non-privileged, non-custodial data responsive to this request for the
      iPhone, iPad, and iPod touch. Apple will not produce documents responsive to this
      request for Apple Watches or AirPods or Apple Accessory Products. You asked us to
      identify the Bates numbers for this data and agreed that Epic would likewise provide
      Bates numbers upon request for data in its own production. Apple has produced at APL-
      APPSTORE_08822222 the sales in units, revenue, and standard costs for iPhone, iPad,
      and iPod Touch. Please provide Bates numbers for Epic’s cost and revenue data
      requested in Apple’s Interrogatory Nos. 1, 3, and 4. See Dec. 21, 2020 Ltr. from J.
      Srinivasan to L. Moskowitz.

•     Epic RFP Nos. 5 and 6 regarding revenue, costs, expenses and profits for Apple’s
      IAP. We have previously explained that Epic’s RFP Nos. 5-6, which seek cost and
      revenue data “earned by and/or attributed to, Apple’s IAP” yields no responsive




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    documents as written because IAP is a functionality of the App Store and not a product
    that “earn[s]” or is “attributed” any costs or revenue. It thus makes no sense to attribute
    revenues from app and in-app purchases to IAP or to think of app reviewer compensation
    and marketing cost data as costs attributable to IAP. That said, Apple is producing
    transactional data that captures the revenue for the iOS App Store for the U.S. storefront.

•   Epic RFP Nos. 7 and 8 regarding revenue, costs, expenses, investments and profits
    for Apple’s macOS App Store and iOS App Store, respectively. Apple explained that
    while the costs and investments in the macOS App store and iOS App Store are not
    allocated or tracked separately, Apple is currently searching for this information in
    reasonably accessible non-custodial sources, and will produce responsive, non-privileged
    documents to the extent they exist for the U.S. storefront. Moreover, as we pointed out
    on the call, these Requests overlap with Apple’s ongoing investigation to identify
    underlying data supporting certain Profits & Loss data already produced to plaintiffs
    pursuant to Magistrate Judge Hixson’s Order. Apple further agrees to produce
    responsive, non-privileged documents to the extent they exist in the custodians’ files.
    Finally, as you know, Apple is already producing transactional data that captures the
    revenue for the iOS App Store for the U.S. storefront.

•   Epic RFP No. 9 and 53 regarding financial documents for certain developer tools.
    Apple explained that while it has not identified documents in existence that track
    specifically and separately Apple’s financial investments in “Xcode, Metal, SDKs, APIs
    and all other developer tools for iOS that Apple makes available for use by third-party
    Developers,” Apple is currently searching for and will produce responsive, non-
    privileged documents, to the extent they exist, that are locatable through a search of
    reasonably accessible non-custodial sources and can be produced without undue burden.
    Apple further agrees to produce responsive, non-privileged documents to the extent they
    exist in the custodians’ files.

•   Epic RFP No. 10 regarding Apple’s app review employees. Apple has produced
    anonymized data from a non-custodial repository containing information regarding
    salary, wages, and bonuses related to App Reviewers. See APL-APPSTORE_09814097.
    This is the only non-custodial source we are aware of that contains responsive data.
    Apple further agrees to produce responsive, non-privileged documents to the extent they
    exist in the custodians’ files.

•   Epic RFP No. 11 regarding usage metrics. To the extent this Request overlaps with
    Consumer Plaintiffs’ RFP No. 48, Apple is already investigating whether it can produce
    responsive, non-privileged documents without undue burden. To the extent the Request
    does not overlap with Consumer Plaintiffs RFP No. 48, Apple is currently searching for



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    and investigating whether it can produce responsive, non-privileged documents, to the
    extent they exist, that are locatable through a search of reasonably accessible non-
    custodial sources, and can be produced without undue burden. Apple further agrees to
    produce responsive, non-privileged documents to the extent they exist in the custodians’
    files.

•   Epic RFP Nos. 12, 13, and 14 regarding customer lifetime value or lifespan of Apple
    products. Apple is currently searching for and will produce responsive, non-privileged
    documents, to the extent they exist, that are locatable through a search of reasonably
    accessible non-custodial sources, and can be produced without undue burden. Apple
    further agrees to produce responsive, non-privileged documents to the extent they exist in
    the custodians’ files.

•   Epic RFP Nos. 15-17 regarding developer agreements. Apple confirms that it will
    produce responsive, non-privileged documents, to the extent they exist, that are locatable
    through a search of reasonably accessible non-custodial sources, and can be produced
    without undue burden. Apple further agrees to produce responsive, non-privileged
    documents to the extent they exist in the custodians’ files.

•   Epic RFP Nos. 18-19 regarding third-party payment providers. Apple confirms that
    it will produce responsive, non-privileged documents, to the extent they exist, that are
    locatable through a search of reasonably accessible non-custodial sources, and can be
    produced without undue burden. Apple further agrees to produce responsive, non-
    privileged documents to the extent they exist in the custodians’ files.

•   Epic RFP Nos. 25 and 31 regarding “active use” and Apple’s “installed based.”
    Apple is currently searching for and will produce responsive, non-privileged documents,
    to the extent they exist, that are locatable through a search of reasonably accessible non-
    custodial sources, and can be produced without undue burden. Apple further agrees to
    produce responsive, non-privileged documents to the extent they exist in the custodians’
    files.

•   Epic RFP Nos. 26, 27, and 28 regarding consumers that own certain multiple Apple
    products or use certain Apple services. Apple is currently searching for and will
    produce responsive, non-privileged documents, to the extent they exist, that are locatable
    through a search of reasonably accessible non-custodial sources, and can be produced
    without undue burden. Apple further agrees to produce responsive, non-privileged
    documents to the extent they exist in the custodians’ files.




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•   Epic RFP Nos. 29 and 51 regarding use of Apple ID for transactions. To the extent
    the Request overlaps with plaintiffs’ requests for certain structured transactional data,
    Apple agrees to produce responsive, non-privileged material related to the U.S.
    storefront. As explained on the call, Apple is aware that Apple ID can be used as a login
    for certain third-party websites and applications. But we are not aware that Apple ID can
    be used to conduct transactions on these third-party platforms. On our call, you were not
    able to provide any instances of such transactions either. To the extent Epic is able to
    identify such transactions, Apple is willing to investigate.

•   Epic RFP No. 30 regarding spending and earnings through IAP. As noted above,
    Apple’s IAP is a functionality of the App Store and not a product that “earn[s].” As
    noted above, Apple is already producing transactional data that captures the revenue for
    the iOS App Store for the U.S. storefront.

•   Epic RFP No. 52 regarding communications concerning commissions for in-app
    purchasing on competitor marketplaces. Apple agrees to produce responsive, non-
    privileged documents to the extent they exist in the custodians’ files.

•   Epic RFP No. 54 regarding business and strategic plans related to competition.
    Apple confirms that it will produce responsive, non-privileged documents, to the extent
    they exist, that are locatable through a search of reasonably accessible non-custodial
    sources, and can be produced without undue burden. Apple further agrees to produce
    responsive, non-privileged documents to the extent they exist in the custodians’ files.

•   Epic RFP No. 67 regarding “hotfixes.” Apple explained that its issue with Epic’s
    “hotfix” was, as the Court recognized, not that it was a “hotfix” per se but the specific
    nature of Epic’s “hotfix,” which carried out a severe breach of Epic’s contracts with
    Apple and Apple’s App Review Guidelines. Nonetheless, Apple is currently searching
    for and will produce responsive, non-privileged documents, to the extent they exist, that
    are locatable through a search of reasonably accessible custodial sources.

•   Epic RFP No. 79 regarding Small Business Developer Program. Apple is currently
    searching for and will produce responsive, non-privileged documents, to the extent they
    exist, that are locatable through a search of reasonably accessible non-custodial sources,
    and can be produced without undue burden. Apple further agrees to produce responsive,
    non-privileged documents to the extent they exist in the custodians’ files.

•   Epic RFP No. 81 regarding                          As explained above, Apple’s issue with
    Epic’s “hotfix” was, as the Court recognized, not that it was a “hotfix” per se but the
    specific nature of Epic’s “hotfix,” which carried out a severe breach of Epic’s contracts



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   with Apple and Apple’s App Review Guidelines. Nonetheless, Apple is currently
   searching for and will produce responsive, non-privileged documents, to the extent they
   exist, that are locatable through a search of reasonably accessible non-custodial sources,
   and can be produced without undue burden. Apple further agrees to produce responsive,
   non-privileged documents to the extent they exist in the custodians’ files.

Epic’s “Non-Data” Requests

         With respect to the issues labeled as “first” through “seventh” on pages 1-2 of your
letter, the third, sixth and seventh issues are addressed above. Regarding the first issue,
Apple confirms that Epic’s requests for production is being and will be included in the scope
of responsiveness for the review of the class production. Regarding the fifth issue, Apple
confirms that its search includes Apple affiliates to the extent the contracting party to a
responsive agreement or similar document is an Apple affiliate. That leaves the second (non-
U.S. materials) and fourth (extending time period) issues, which are each addressed below.

Documents Outside of the U.S.

        With respect to Epic’s request for documents outside of the U.S., we explained on the
call that to the extent the document addresses non-U.S. and U.S. storefronts, or global
information, and is otherwise not privileged and responsive, the document will be produced.
Moreover, if the document implicates Epic in any reasonably apparent way, including
discussing Epic’s games such as Fortnite, and is otherwise not privileged and responsive, the
document will be produced regardless of whether the document is discussing a non-U.S.
storefront. If, however, the document does not appear to implicate Epic or its products, and
only discusses a non-U.S. storefront, the document would not be marked as responsive. For
example, documents reflecting issues faced by a Japanese developer selling an app
exclusively on the Japanese storefront that do not implicate Epic would be marked as not
responsive as the document is not reasonably related to the claims that are in the case.

         Similarly, with respect to Epic’s request for cost, revenue, expenses and investment
data from outside of the U.S., we reiterated on the call that such data is beyond the proper
scope of discovery in light of the Foreign Trade Antitrust Improvements Act (FTAIA), which
“removes from the reach of the antitrust laws” commercial activities abroad, subject to a few
exceptions inapplicable here. United States v. Hui Hsiung, 778 F.3d 738, 751 (9th Cir.
2015). Documents and data regarding activities outside of the U.S. cannot form the basis for
liability in this case, and therefore discovery regarding such data is neither relevant nor
proportional to the needs of the case. That Epic has made conclusory allegations of a
worldwide market has no bearing on the application of the FTAIA here.




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       As for Epic’s Request Nos. 3, 30 (transactions and sales), Epic contends that Apple
should not limit its production to sales in the United States. Epic still has not explained why
device sales outside of the U.S. are relevant to Epic’s U.S. antitrust claims.

        As for Epic’s Request No. 18 (settlement providers), Epic has not articulated any
relevancy of the Request with regard to settlement providers worldwide. The fact that Apple
makes payment processing convenient for developers around the world has nothing to do
with the relevancy and proportionality of a request to identify every payment settlement
provider or other entity Apple engaged in connection with IAP throughout the world. Those
identities do not bear on the strength of any claims or defenses at issue. But even assuming
arguendo that this information is relevant (it is not), the burden of producing documents
responsive to this Request for activity outside of the United States would greatly outweigh
any marginal benefit in this case.

      As for Epic’s Request Nos. 56-58 and 60 (studies, analyses, surveys relating to
competition and consumer demand), the relevant competition in this case is in the U.S.
market—even though it is certainly true that Apple faces fierce competition globally.

        As for Epic’s Request Nos. 61-63 (security and privacy studies, analyses, and
surveys), again, what is relevant in this case is Apple’s security practices in the United
States. Epic has not articulated why the fact that Apple also has important security practices
worldwide is relevant to the matter.

Date Ranges for the Parties’ Productions

       In addition, Epic has requested that Apple expand the time period of collection for
documents responsive to Epic’s Request Nos. 1-2, 15-18, 32-38, 43-44, 54, 64, and 65-70.
Apple has likewise requested that Epic collect documents from January 1, 2010 through
August 13, 2020 for its designated custodians. The parties should meet and confer further to
determine if they can reach agreement on these reciprocal requests.

                                   *       *       *      *

       Apple emphasizes that it was Epic that sought an aggressive discovery schedule
based on its representations to the Court that Epic would seek only “limited targeted
additional discovery” from Apple. Aug. 24, 2020 Hr’g Tr. at 5:21-22. And Apple is already
providing a tremendous amount of discovery to Epic and working diligently to continue to
produce responsive material on the expedited discovery schedule. Apple provided Epic the
millions of documents already produced to the class plaintiffs, including documents from
Apple’s existing 15 custodians. Apple also began updating its collection and production of
documents from two Apple witnesses, and collecting and producing documents from



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additional Epic-specific custodians. And while Apple has a longstanding tradition of
shutting down most of its operations for approximately two weeks before and immediately
after New Year’s Day, Apple is nonetheless continuing to diligently prepare documents for
production and investigate additional non-custodial repositories to accommodate Epic’s
numerous requests by January 6, 2021. However, Apple is constrained by what physically
can be accomplished on the aggressive timeline requested by Epic and granted by the Court.

Sincerely,



Ethan Dettmer

EDD/bxy


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